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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Gregory Eicher                                                             CASE NUMBER

                                                                                         2:20-cv-04958 ODW(PLAx)
                                                         PLAINTIFF(S)
                              v.
Princess Cruise Lines Ltd.                                                         ORDER RE TRANSFER PURSUANT
                                                                                     TO GENERAL ORDER 19-03
                                                                                         (RELATED CASES)
                                                       DEFENDANT(S).

                                                                 CONSENT
                                   TRANSFER ORDER
      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 19-03.
                                      DECLINED
                                            R. Gary Klausner
                      Date                                                 United States District Judge

                                                              DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:
One class of plaintiffs covers passengers from a different cruise date.




                June 19, 2020                                              /s/ R. GARY KLAUSNER
                    Date                                                   United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case      2:20-cv-02267 RGK(SKx)             and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                                               to Magistrate Judge                              .
                                                   TRANSFER ORDER
           On all documents subsequently filed in this case, please substitute the initials                after the case number
                                                                DECLINED
in place of the initials of the prior judge, so that the case number will read                                  . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (03/19)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 19-03 (Related Cases)
